  Case 3:18-cv-00252-CWR-FKB Document 155 Filed 06/17/19 Page 1 of 14




                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION

SECURITIES AND EXCHANGE                  No: 3:18-cv-252
COMMISSION,
                                         Carlton W. Reeves, District Judge
          Plaintiffs,

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

          Defendants.




                          RECEIVER’S REPORT

                              June 17, 2019




                                        /s/ Alysson Mills
                                 Alysson Mills, Miss. Bar No. 102861
                                 Fishman Haygood, LLP
                                 201 St. Charles Avenue, Suite 4600
                                 New Orleans, Louisiana 70170
                                 Telephone: 504-586-5253
                                 Fax: 504-586-5250
                                 amills@fishmanhaygood.com
                                 Receiver for Arthur Lamar Adams and
                                 Madison Timber Properties, LLC
     Case 3:18-cv-00252-CWR-FKB Document 155 Filed 06/17/19 Page 2 of 14




Introduction

        For many years Arthur Lamar Adams, through his companies Madison Timber Company,
Inc. and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
30, 2018, he was sentenced to 19.5 years in prison.

        On June 22, 2018, the Court appointed me Receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties. Among other things,
the order instructs me to take any action necessary and appropriate to preserve the assets of Adams
and his businesses, to maximize funds available for distributions to victims. I have undertaken
these tasks with substantial assistance from my counsel, including principally Brent Barriere and
Lilli Bass.

        The Court instructed me to file a report of my progress every 60 days. I filed my last report
on April 18, 2019, and this report picks up where that report left off. It does not repeat the same
information, except as necessary for context. It contains the following parts:

                                                                        page
                      Recent filings or events—criminal                   3
                      Recent filings or events—civil                      3
                      Receiver’s actions in the past 60 days              6
                      Receiver’s plan for the next 60 days                9
                      Summary of status of assets                         12


        As always, my reports are for the Court’s benefit, but I write them for a broader audience,
knowing that they may be read by non-lawyers including victims. I remain sensitive to potential
ongoing criminal investigations and do not disclose information that might impair their progress.




                                                                                                   2
        Case 3:18-cv-00252-CWR-FKB Document 155 Filed 06/17/19 Page 3 of 14




Recent filings or events—criminal

           United States v. Adams, No. 3:18-cr-88

           None.


           United States v. McHenry, No. 3:19-cr-20

           The U.S. Attorney’s Office for the Southern District of Mississippi charged Bill McHenry
with securities and commodities fraud and wire fraud earlier this year. On June 11, 2019, the
Court entered an order setting a trial date of September 3, 2019.1


Recent filings or events—civil

           Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-252

           Approved sale—134 Saint Andrews: On May 10, 2019, after public notice and hearing, the
Court entered an order approving the sale of the real property at 134 Saint Andrews Drive, Jackson,
Mississippi.2 The sale price—$540,000, subject to a repair allowance of $20,000—is more than
two-thirds of the appraised value as determined by three appraisers, as required by 28 U.S.C. §
2001(b). The sale will close on June 19, 2019.


           Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

           The complaint against Mike Billings, Wayne Kelly, and Bill McHenry, filed October 1,
2018, alleges they received millions of dollars in “commissions” in exchange for their recruitment
of new investors to Madison Timber. Wayne Kelly settled with the Receivership Estate.

           Mike Billings: Billings and I continue to negotiate settlement but have not entered an
agreement.

           Bill McHenry: Litigation against McHenry is ongoing. I have argued that there are no
factual disputes and the Court may enter judgment against McHenry in the amount requested,
$3,473,320, as a matter of law, without hearing or trial. A motion for summary judgment and

1
    Doc. 24, United States v. McHenry, No. 3:19-cr-20 (S.D. Miss.).
2
    Doc. 151, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
                                                                                                  3
     Case 3:18-cv-00252-CWR-FKB Document 155 Filed 06/17/19 Page 4 of 14




related filings are available at madisontimberreceiver.com. As of this filing the Court had not
issued a ruling.


          Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

          The complaint against Butler Snow LLP; Butler Snow Advisory Services, LLC; Matt
Thornton; Baker, Donelson, Bearman, Caldwell & Berkowitz, PC; Alexander Seawright, LLC;
Brent Alexander; and Jon Seawright, filed December 19, 2018, alleges the law firms and their
agents lent their influence, their professional expertise, and even their clients to Adams and
Madison Timber. None of the defendants has settled with the Receivership Estate.

          Butler Snow: The Butler Snow defendants have argued that the case against them should
be submitted to private arbitration. I have argued, among other things, that private arbitration is in
no one’s interest, except Butler Snow’s. The Butler Snow defendants’ motion and related filings
are available at madisontimberreceiver.com. As of this filing the Court had not issued a ruling.

          Baker Donelson: Baker Donelson filed a motion to dismiss all claims against it, which I
opposed. Baker Donelson’s motion and related filings are available at madisontimberreceiver.com.
As of this filing the Court had not issued a ruling.

          Alexander Seawright: The Alexander Seawright defendants filed a motion to dismiss all
claims against them, which I opposed. The Alexander Seawright defendants’ motion and related
filings are available at madisontimberreceiver.com. As of this filing the Court had not issued a
ruling.


          Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

          The complaint against BankPlus; BankPlus Wealth Management, LLC; Gee Gee Patridge,
Vice President and Chief Operations Officer of BankPlus; Stewart Patridge; Jason Cowgill; Martin
Murphree; Mutual of Omaha Insurance Company; and Mutual of Omaha Investor Services, Inc.,
filed March 20, 2019, alleges the financial institutions and their agents lent their influence, their
professional services, and even their customers to Madison Timber, establishing for it a de facto
DeSoto County headquarters within BankPlus’s Southaven, Mississippi branch office. None of the
defendants has settled with the Receivership Estate.

                                                                                                    4
     Case 3:18-cv-00252-CWR-FKB Document 155 Filed 06/17/19 Page 5 of 14




       BankPlus: BankPlus filed a motion to dismiss all claims against it on May 21, 2019. I filed
a brief opposing that motion on June 17, 2019, and anticipate that BankPlus will file a reply.
BankPlus’s motion and related filings are available at madisontimberreceiver.com.

       Gee Gee Patridge: Patridge, Vice President and Chief Operations Officer of BankPlus,
filed a motion to dismiss all claims against her on May 21, 2019. I filed a brief opposing that
motion on June 17, 2019, and anticipate that Patridge will file a reply. Patridge’s motion and
related filings are available at madisontimberreceiver.com.

       Martin Murphree: Murphree, a former agent of BankPlus and Mutual of Omaha, filed an
answer to the complaint on May 22, 2019. The answer is available at madisontimberreceiver.com.

       Jason Cowgill: Cowgill, a former manager of BankPlus’s Southaven, Mississippi branch,
filed a motion to dismiss all claims against him on May 24, 2019. I filed a brief opposing that
motion on June 17, 2019, and anticipate that Cowgill will file a reply. Cowgill’s motion and
related filings are available at madisontimberreceiver.com.

       Mutual of Omaha: Mutual of Omaha filed a motion to dismiss all claims against it on June
3, 2019. I filed a brief opposing that motion on June 17, 2019, and anticipate that Mutual of Omaha
will file a reply. Mutual of Omaha’s motion and related filings are available at
madisontimberreceiver.com.

       Stewart Patridge: Patridge, a former agent of BankPlus and Mutual of Omaha, finally was
served with the complaint on May 16, 2019. He obtained an extension of time to file an answer
or responsive pleading on or before July 1, 2019.


       Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

       On May 23, 2019, I filed a complaint against The UPS Store, Inc.; Herring Ventures, LLC
d/b/a The UPS Store; Austin Elsen; Tammie Elsen; Courtney Herring; Diane Lofton; and Chandler
Westover. On June 13, 2019, I amended the complaint to include allegations against Rawlings &
MacInnis, PA; Tammy Vinson; and Jeannie Chisholm. The defendants are the notaries and their
employer on whom Lamar Adams principally relied to notarize fake timber deeds.



                                                                                                 5
     Case 3:18-cv-00252-CWR-FKB Document 155 Filed 06/17/19 Page 6 of 14




       The complaint alleges the defendants’ actions contributed to the success of the Madison
Timber Ponzi scheme, and therefore to the debts of the Receivership Estate. It includes counts for
civil conspiracy; aiding and abetting; recklessness, gross negligence, and at a minimum
negligence; and negligent retention and supervision. The complaint is available at
madisontimberreceiver.com.


Receiver’s actions in the past 60 days

       Since I filed my last report on April 18, 2019, I have:


       Continued to litigate Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

       As summarized above, I continue to negotiate settlement with Mike Billings. As of this
filing the Court had not issued a ruling on the motion for summary judgment that I previously filed
against Bill McHenry.


       Continued to litigate Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

       As summarized above, I previously filed oppositions to the Butler Snow defendants’
motion to compel arbitration and Baker Donelson’s and the Alexander Seawright defendants’
motions to dismiss. As of this filing the Court had not issued a ruling on those motions.


       Continued to litigate Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

       As summarized above, I filed oppositions to motions to dismiss filed by BankPlus; Gee
Gee Patridge, Vice President and Chief Operations Officer of BankPlus; Jason Cowgill; and
Mutual of Omaha on June 17, 2019. I finally served Stewart Patridge with the complaint on May
16, 2019.


       Filed Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

       As summarized above, on May 23, 2019, I filed a complaint against The UPS Store, Inc.;
Herring Ventures, LLC d/b/a The UPS Store; Austin Elsen; Tammie Elsen; Courtney Herring;
Diane Lofton; and Chandler Westover, and on June 13, 2019, I amended the complaint to include

                                                                                                 6
        Case 3:18-cv-00252-CWR-FKB Document 155 Filed 06/17/19 Page 7 of 14




allegations against Rawlings & MacInnis, PA; Tammy Vinson; and Jeannie Chisholm. The
defendants are the notaries and their employer on whom Lamar Adams principally relied to
notarize fake timber deeds.


           Liquidated real property

           134 Saint Andrews Drive, Jackson, Mississippi: As summarized above, on May 10, 2019,
after public notice and hearing, I obtained an order from the Court approving the sale of the real
property at 134 Saint Andrews Drive, Jackson, Mississippi.3 The sale price—$540,000, subject to
a repair allowance of $20,000—is more than two-thirds of the appraised value as determined by
three appraisers, as required by 28 U.S.C. § 2001(b). The sale will close on June 19, 2019.

           2150 Anderson Road, Unit 504, Oxford, Mississippi: The Adamses’ condo in Oxford,
Mississippi, in the Calton Hills subdivision, 2150 Anderson Road, Unit 504, was sold on June 10,
2019, for $182,000, with a $3,000 credit for repairs.


           Continued to account for “commissions” and gifts

           I continue to account for “commissions” paid by Adams, Madison Timber, or Wayne Kelly
to individuals in exchange for their assistance in recruiting new investors to the Madison Timber
Ponzi scheme. I continue to account for gifts that Adams or Wayne Kelly made with proceeds
from Madison Timber.


           Continued to review records

           To date I have received and reviewed records from Wayne Kelly, Mike Billings, Alexander
Seawright, Brent Alexander, Jon Seawright, First Bank of Clarksdale, Southern Bancorp, River
Hills Bank, Community Bank, Jefferson Bank, Trustmark Bank, BankPlus, Southern AgCredit,
Adams’s and Madison Timber’s accounting firm, Butler Snow, Rawlings & MacInnis, Madison
Trust Company (no relation to Madison Timber), Pinnacle Trust, and The UPS Store. I continue
to request and review additional records as necessary to assess the Receivership Estate’s rights
against third parties that had professional relationships with Adams or Madison Timber.


3
    Doc. 151, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
                                                                                                  7
     Case 3:18-cv-00252-CWR-FKB Document 155 Filed 06/17/19 Page 8 of 14




       Worked with LLCs of which Adams was a member

       Adams was a member of at least six active limited liability companies (“LLCs”) that own
real estate. The Receivership Estate has already resolved its interests in 707, LLC; Delta Farm
Land Investments, LLC; and KAPA Breeze, LLC. The status of the remaining LLCs is as follows:

       Mallard Park, LLC: The LLC’s principal asset is 1,723 acres with a hunting lodge in
Humphreys County, Mississippi. I have obtained an appraisal of that property and have negotiated
to sell the Receivership Estate’s 25% interest in the LLC to the LLC’s other members in a
transaction I am currently finalizing.

       MASH Farms, LLC: The LLC’s principal asset is 808+ acres with a hunting camp in
Sunflower County, Mississippi. I have obtained an appraisal of that property and have had
preliminary negotiations with the LLC’s other members regarding the purchase of the
Receivership Estate’s 25% interest. I will consider any offer by any party to purchase the
Receivership Estate’s interest for a price that I believe is fair, and I encourage interested parties to
contact me directly (504-586-5253). If I am unable to sell the Receivership Estate’s interest, I will
evaluate other options available to the Receivership Estate.

       Oxford Springs, LLC: The LLC executed a purchase agreement to sell its principal asset,
2,300+/- acres of undeveloped land in Lafayette County, Mississippi, on February 11, 2019.
Unfortunately, the purchaser terminated the purchase agreement before a sale was finalized. I am
evaluating all options available to the Receivership Estate.


       Conferred with federal and state authorities

       I have continued to confer with the U.S. Attorney’s Office for the Southern District of
Mississippi, the FBI, the Securities and Exchange Commission, the Mississippi Secretary of
State’s Office, and the Mississippi Department of Banking and Consumer Finance.


       Communicated with investors in Madison Timber

       I have continued to communicate with investors in Madison Timber via phone, letter,
email, and in-person meetings. I speak to investors almost daily.


                                                                                                      8
     Case 3:18-cv-00252-CWR-FKB Document 155 Filed 06/17/19 Page 9 of 14




       Interviewed persons with knowledge

       I have continued to interview individuals with first-hand knowledge of matters bearing on
the Receivership Estate.


       Researched legal claims against third parties

       Readers know that my colleagues and I research legal claims against third parties as new
facts are discovered. I do not publish our assessments here because to do so would be to telegraph
our legal strategies to future defendants.


Receiver’s plan for the next 60 days

       Continue to litigate Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

       As noted above, I await the Court’s ruling on my motion for summary judgment against
Bill McHenry. No hearing or trial has been set, and it is my position that the Court may enter
judgment against McHenry in the amount requested, $3,473,320, as a matter of law, without
hearing or trial. I continue to negotiate with Mike Billings.


       Continue to litigate Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

       As noted above, I await the Court’s rulings on the Butler Snow defendants’ motion to
compel arbitration and Baker Donelson’s and the Alexander Seawright defendants’ motions to
dismiss.


       Continue to litigate Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

       As noted above, I anticipate BankPlus; Gee Gee Patridge, Vice President and Chief
Operations Officer of BankPlus; Jason Cowgill; and Mutual of Omaha will file replies to the
oppositions to their motions to dismiss that I filed on June 17, 2019. I expect Stewart Patridge’s
response to my complaint on July 1, 2019.




                                                                                                9
    Case 3:18-cv-00252-CWR-FKB Document 155 Filed 06/17/19 Page 10 of 14




       Continue to litigate Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

       I expect The UPS Store, Inc.; Herring Ventures, LLC d/b/a The UPS Store; Austin Elsen;
Tammie Elsen; Courtney Herring; Diane Lofton; Chandler Westover; Rawlings & MacInnis, PA;
Tammy Vinson; and Jeannie Chisholm to file responses to my complaint.

       Continue to account for “commissions” and gifts

       As noted above, I continue to account for “commissions” paid by Adams, Madison Timber,
or Wayne Kelly to individuals in exchange for their assistance in recruiting new investors to the
Madison Timber Ponzi scheme. I continue to account for gifts that Adams or Wayne Kelly made
with proceeds from Madison Timber.

       Monetize Adams’s interests in the remaining three LLCs

       For the remaining three LLCs, I intend to liquidate the Receivership Estate’s interests to
maximize value to the Receivership Estate:

       Mallard Park, LLC: I intend to sell the Receivership Estate’s 25% interest in the LLC to
the LLC’s other members in a transaction I am currently finalizing.

       Mash Farms, LLC: I want to sell the Receivership Estate’s 25% interest on terms that are
in the best interests of the Receivership Estate. I will continue to consider a sale to the LLC’s other
members but, as noted above, I will consider any offer by any party that I believe is fair, and I
encourage interested parties to contact me directly (504-586-5253). If I am unable to sell the
Receivership Estate’s interest, I will evaluate other options available to the Receivership Estate.

       Oxford Springs, LLC: I will evaluate all options available to the Receivership Estate.


       Finalize sale of 134 Saint Andrews

       As noted above, the sale of 134 Saint Andrews Drive, Jackson, Mississippi, will close on
June 19, 2019.




                                                                                                    10
    Case 3:18-cv-00252-CWR-FKB Document 155 Filed 06/17/19 Page 11 of 14




           File additional lawsuits

           I intend to file additional lawsuits against third parties that contributed to the debts of
Madison Timber, and therefore to the debts of the Receivership Estate, so long as new information
justifies it. To protect the Receivership Estate’s position, I am not disclosing publicly third-party
targets.

           I intend to file additional lawsuits to recover commissions, fraudulent transfers, and gifts
as necessary to recover money that belongs to the Receivership Estate.

           Readers can expect one or more new lawsuits in the next 60 days.


           Continue communicating with investors

           I intend to continue communicating with investors, through my website, email, phone, and
letters. Investors provide information that is useful to my investigation and, in turn, I hope that I
demystify the receivership process for them.




                                                                                                    11
     Case 3:18-cv-00252-CWR-FKB Document 155 Filed 06/17/19 Page 12 of 14




Summary of status of assets

         My end goal is to make an equitable distribution to victims with the money I recover.

Although I continue to recover money from various third parties, the money that I have recovered

to date would not go far. As I have advised, it may take a long time and a lot of work to recover

enough money to make a meaningful distribution, but I am committed to pursuing recoveries for

the benefit of victims so long as the Court allows. The Receivership Estate’s most valuable assets

are the lawsuits it has filed or intends to file.


         The current status of the Receivership Estate’s assets is as follows:

Receivership Estate’s account at Hancock Bank                              current balance $5,127,603.24
Previous balance as of April 18, 2019                   $4,999,117.99
Settlement—Frank Zito—final installment                 +$100,000.00
Sale proceeds—Oxford condo                              +$139,919.09
Interest                                                   +$8,599.48
Bank fees                                                     -$ 81.00
Receiver/Receiver’s counsel’s fees/expenses              -$119,597.69
City of Oxford—Oxford condo—utilities                        -$192.39
Entergy—134 Saint Andrews—utilities                            -$90.00
City of Jackson—134 Saint Andrews—services                     -$36.24
Correction to Mallard Park LLC distribution                    -$36.00


Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-679              settlement with Billings likely
Lawsuit to recover $16,000,000 in commissions
                                                                         litigation against McHenry ongoing

Alysson Mills vs. Butler Snow, et al., No. 3:18-cv-866
Lawsuit to hold law firms liable for debts of the Receivership Estate             litigation ongoing


Alysson Mills vs. BankPlus, et al., No. 3:19-cv-196
Lawsuit to hold bank and financial services company liable for debts              litigation ongoing
of the Receivership Estate


Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364
Lawsuit to hold notaries liable for debts of the Receivership Estate              litigation ongoing




                                                                                                              12
      Case 3:18-cv-00252-CWR-FKB Document 155 Filed 06/17/19 Page 13 of 14



Settlement—Wayne Kelly                                           received $1,384,435.17 plus interests in
                                                                 707, 315 Iona, and KAPA Breeze, LLCs
                                                                 promissory note in the original principal
                                                                    amount of $400,000 outstanding

Settlement—Frank Zito                                              received $100,000, first installment
                                                                   received $100,000, second and final
                                                                        installment, June 12, 2019

House at 134 Saint Andrews Drive, Jackson, Mississippi                    closing June 19, 2019
Unencumbered

Condo in Calton Hill subdivision in Oxford, Mississippi                   received $139,919.09
Unencumbered                                                              in proceeds from sale

Jewelry                                                                           for sale

1/4       Mallard Park, LLC                                                sale of interest likely
          1,723 acres with hunting lodge in Humphreys County
          Purchased in 2016 for $2,593,500
          Encumbered by Southern AgCredit mortgage
          Owe approximately $2,000,000

1/4       Mash Farms, LLC                                                   assessing options
          808+ acres with hunting camp in Sunflower County
          Purchased in 2014 for $1,600,000
          Encumbered by Trustmark Bank mortgage
          Owe approximately $900,000

47.5%     Oxford Springs, LLC                                               assessing options
          2,300+/- acres undeveloped land in Lafayette County
          Purchased in 2015 and 2016 for total of $6,158,000
          Encumbered by First Bank of Clarksdale mortgage
          Owe approximately $4,500,000

Hartford Life and Annuity Insurance Co. life insurance policy          surrendered for $167,206.60

Lincoln National Life Insurance Co. life insurance policy               surrendered for $3,678.45

1/6       707, LLC                                                LLC sold principal asset and dissolved;
          263+ acres recreational land in Holmes County         tendered $6,994.09 representing Adams’s,
          Purchased in 2009                                       Kelly’s, and McHenry’s interests to the
          Encumbered by First Commercial Bank mortgage                      Receivership Estate
          Owe approximately $368,000

1/3       Delta Farm Land Investments, LLC                       LLC sold principal asset and dissolved;
          1170+ acres farmland in Oktibbeha County                 tendered $323,440.88 representing
          Purchased in 2014 for $2,796,100                      Adams’s interest to the Receivership Estate
          Encumbered by Trustmark Bank mortgage
          Owe approximately $2,200,000

Settlement—Ole Miss Athletics Foundation                          received $155,084.50, first installment
                                                                 received $155,084.50, second and final
                                                                       installment, April 17, 2019

                                                                                                            13
      Case 3:18-cv-00252-CWR-FKB Document 155 Filed 06/17/19 Page 14 of 14




Marital Property Settlement—Vickie Lynn Adams                                        received $58,247
Lump sum payment includes proceeds from sale of Lexus LX 570
and liquidation of Hartford Life and Annuity Insurance Co. life
insurance policy

Settlement—Adams children                                                           received $170,000

1/2      KAPA Breeze LLC                                                      sold the Receivership Estate’s
         1.5+/- acres mixed-use land on Highway 30A in Florida                     interest for $700,000
         Purchased in 2017 for approximately $1,900,000
         Encumbered by Jefferson Bank mortgage
         Owe approximately $1,365,000

Alexander Seawright—UPS’s funds*                                                     holding $100,000

Settlement—Philippi Freedom Ministries                                               received $16,125

Settlement—Rick Hughes Evangelistic Ministries                                     received $43,657.95

2018 King Ranch Ford F150 truck                                                      sold for $42,750

Strikethrough indicates asset has been liquidated or proceeds are already accounted for in the Hancock Bank
account balance.

*Holding funds solely as an offset to UPS’s monetary liability for future claims the Receivership Estate might
have against UPS.




                                                                                                                 14
